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                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION


UNITED STATES OF AMERICA,
              plaintiff

v.                                                      CASE No.: 1:20CR00010

KAYLA QUESENBERRY,
             defendant

                   MOTION TO ALLOW A COPY OF DISCOVERY
                 TO BE PROVIDED TO THE JAIL FOR DEFENDANT

       Defendant Kayla Quesenberry, by counsel, moves this Honorable Court for

permission to place an electronic copy of her discovery materials on file at the

Southwest Virginia Regional Jail for her review. In support of her motion, she states

the following:

       1. The defendant is currently incarcerated at the Southwest Virginia Regional
          Jail.

       2. The copies seeking to be placed on file at the jail may be redacted, if
          necessary.

       3. Defendant’s counsel is currently unable to visit her at the jail to review
          discovery in person, due to the ongoing COVID-19 pandemic.


       Wherefore, Kayla Quesenberry respectfully requests that her motion be

granted so that an electronic copy of the discovery materials can be placed on file at
the jail for her review.

                                           Respectfully submitted,

                                           Kayla Quesenberry
                                           By Counsel
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                                         s/John T. Stanford
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                          CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the foregoing document was electronically
filed and will be forwarded to the Assistant United States Attorney this 7th day of
May, 2020.
                                         s/John T. Stanford
